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6                           IN THE UNITED STATES DISTRICT COURT

7                             FOR THE DISTRICT OF ARIZONA

8
      Strong Communities Foundation of Arizona          NO. ________________
9
      Inc., and Yvonne Cahill;
10
                       Plaintiffs,
11                                                      INDEX
      v.
12
      Stephen Richer, in his official capacity as
13
      Maricopa County, and Maricopa County;
14
      Defendants.
15

16

17

18   Exhibit:
19
            (A) Civil Cover Sheet
20
            (B) State Court Record
21
                Attachments:
22              1. Supplemental Cover Sheet
23              2. Recent State Court Docket
                3. Complaint
24              4. Service Documents
                5. Remainder of the State Court Record
25
                6. Verification of Joseph E. La Rue
26          (C) Superior Court Notice of Removal to the Federal District Court
27

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                      EXHIBIT A
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                                            UNITED STATES DISTRICT COURT DISTRICT OF ARIZONA


                                                                  Civil Cover Sheet


This automated JS-44 conforms generally to the manual JS-44 approved by the Judicial Conference of the United States in September 1974. The
data is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. The information contained herein neither
replaces nor supplements the filing and service of pleadings or other papers as required by law. This form is authorized for use only in the District
of Arizona.

       The completed cover sheet must be printed directly to PDF and filed as an attachment to the Complaint or Notice of Removal.


                                                                                          Stephen Richer, in his official capacity as Maricopa
                 Strong Communities Foundation of Arizona Inc. , ;
 Plaintiff(s):                                                              Defendant(s): County Recorder , Maricopa County Recorder;
                 Yvonne Cahill , ;
                                                                                          Maricopa County , ;

County of Residence: Maricopa                                              County of Residence: Maricopa

County Where Claim For Relief Arose: Maricopa

Plaintiff's Atty(s):                                                       Defendant's Atty(s):
James K. Rogers , Senior Counsel                                           Thomas P. Liddy , Deputy County Attorney
America First Legal Foundation                                             Maricopa County Attorney's Office
611 Pennsylvania Ave., SE # 231                                            225 West Madison Street
Washington, D.C., 20003                                                    Phoenix, Arizona 85003
(202) 964-3721                                                             (602) 506-8541
Jennifer J. Wright ,                                                       Joseph E. La Rue , Deputy County Attorney
Jennifer Wright Esq., PLC                                                  Maricopa County Attorney's Office
4350 E. Indian School Rd., Ste. #21-105                                    225 West Madison Street
Phoenix, Arizona 85018                                                     Phoenix, Arizona 85003
                                                                           (602) 506-8541
                                                                           Jack L. O'Connor III, Deputy County Attorney
                                                                           Maricopa County Attorney's Office
                                                                           225 West Madison Street
                                                                           Phoenix, Arizona 85003
                                                                           (602) 506-8541
                                                                           Rosa Aguilar , Deputy County Attorney
                                                                           Maricopa County Attorney's Office
                                                                           225 West Madison Street
                                                                           Phoenix, Arizona 85003
                                                                           (602) 506-8541



IFP REQUESTED


REMOVAL FROM Maricopa COUNTY, CASE #CV2024-020835

II. Basis of Jurisdiction:        3. Federal Question (U.S. not a party)

III. Citizenship of Principal
Parties(Diversity Cases Only)
                                  N/A
Plaintiff:-

                                  N/A
Defendant:-

IV. Origin :                      2. Removed From State Court
V. Nature of Suit:                441 Voting

VI.Cause of Action:               Voter registration list maintenance governed by the National Voter Registration Act, 52 U.S.C. §§ 20501 et
                                  seq. and 52 U.S.C. § 21083; voting rights arising under the U.S. Constitution
VII. Requested in Complaint
                         Case 2:24-cv-02030-KML
                              No                Document 1-1 Filed 08/12/24 Page 4 of 20
Class Action:


Dollar Demand:

                                  No
Jury Demand:

VIII. This case IS RELATED to Case Number CV-22-00509-PHX-SRB assigned to Judge Susan Bolton.


Signature: /s/ Joseph E. La Rue

     Date: August 12, 2024

If any of this information is incorrect, please go back to the Civil Cover Sheet Input form using the Back button in your browser and change it.
Once correct, save this form as a PDF and include it as an attachment to your case opening documents.

Revised: 01/2014
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                     EXHIBIT B


                    State Court Record
                    Attachments:
                    1. Supplemental Cover Sheet
                    2. Recent State Court Docket
                    3. Complaint
                    4. Service Documents
                    5. Remainder of the State
                       Court Record
                    6. Verification of Joseph E.
                       La Rue
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                Attachment 1
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                                 SUPPLEMENTAL CIVIL COVER SHEET
                        FOR CASES REMOVED FROM ANOTHER JURISDICTION

                             This form must be attached to the Civil Cover Sheet at the time
                               the case is filed in the United States District Clerk's Office

                                      Additional sheets may be used as necessary.


1.       Style of the Case:
         Please include all Plaintiff(s), Defendant(s), Intervenor(s), Counterclaimant(s), Crossclaimant(s) and
         Third Party Claimant(s) still remaining in the case and indicate their party type. Also, please list the
         attorney(s) of record for each party named and include their bar number, firm name, correct mailing
         address, and phone number (including area code).

         Party                                        Party Type          Attorney(s)
        Maricopa County                               Defendant           Thomas P. Liddy (Bar No. 019384)
                                                                          Joseph E. La Rue (Bar No. 031348)
                                                                          Jack L. O'Connor III (Bar No. 030660)
                                                                          Rosa Aguilar (Bar No. 037774)
                                                                          MARICOPA COUNTY ATTORNEY'S OFFICE
                                                                          225 West Madison Street
                                                                          Phoenix, Arizona 85003
                                                                          Telephone: (602) 506-8541

        ADDITIONAL INFORMATION FOR DEFENDANTS'                            Thomas P. Liddy, liddyt@mcao.maricopa.gov
        ATTORNEYS                                                         Joseph E. La Rue, laruej@mcao.maricopa.gov
                                                                          Jack L. O'Connor III, oconnorj@mcao.maricopa.gov
                                                                          Rosa Aguilar, aguilarr@mcao.maricopa.gov




2.       Jury Demand:
         Was a Jury Demand made in another jurisdiction?            Yes             No
         If "Yes," by which party and on what date?



3.       Answer:
         Was an Answer made in another jurisdiction?          Yes              No
         If "Yes," by which party and on what date?




Supp CV Cover Sheet (rev 8/20/2015)
                 Case 2:24-cv-02030-KML Document 1-1 Filed 08/12/24 Page 8 of 20
4.       Served Parties:
         The following parties have been served at the time this case was removed:

         Party                                   Date Served          Method of Service
        Maricopa County                          08/07/24             process server




5.       Unserved Parties:
         The following parties have not been served at the time this case was removed:

         Party                                              Reason Not Served




6.       Nonsuited, Dismissed or Terminated Parties:
         Please indicate changes from the style of the papers from another jurisdiction and the reason for the
         change:

         Party                                              Reason for Change




7.       Claims of the Parties:
         The filing party submits the following summary of the remaining claims of each party in this litigation:

         Party                                              Claims




Pursuant to 28 USC § 1446(a) a copy of all process, pleadings, and orders served in
another jurisdiction (State Court) shall be filed with this removal.


Supp CV Cover Sheet (rev 8/20/2015)
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                                 SUPPLEMENTAL CIVIL COVER SHEET
                        FOR CASES REMOVED FROM ANOTHER JURISDICTION

                              This form must be attached to the Civil Cover Sheet at the time
                                the case is filed in the United States District Clerk's Office

                                          Additional sheets may be used as necessary.


1.       Style of the Case:
         Please include all Plaintiff(s), Defendant(s), Intervenor(s), Counterclaimant(s), Crossclaimant(s) and
         Third Party Claimant(s) still remaining in the case and indicate their party type. Also, please list the
         attorney(s) of record for each party named and include their bar number, firm name, correct mailing
         address, and phone number (including area code).

         Party                                           Party Type              Attorney(s)
        Strong Communities Foundation of Arizona Inc.   Plaintiffs               * James K. Rogers, Ariz. No. 027287
                                                                                    America First Legal Foundation
                                                                                    611 Pennsylvania Ave., SE #231
                                                                                    Washington, D.C. 20003
                                                                                 * Jennifer J. Wright, Ariz. No. 027145
                                                                                   Jennifer Wright Esq., PLC
                                                                                   4350 E. Indian School Rd, Suite #21-105
                                                                                   Phoenix, Arizona 85018

        Yvonne Cahill                                   Plaintiff                James K. Rogers (info above)
                                                                                 Telephone: (202) 964-3721
                                                                                 Email: James.Rogers@aflegal.org

                                                                                 Jennifer J. Wright (info above)
                                                                                 Telephone: Not provided
                                                                                 Email: jen@jenwesq.com


        Maricopa County Recorder Stephen Richer                                  Thomas P. Liddy (Bar No. 019384)
                                                                                 Joseph E. La Rue (Bar No.031348)
                                                                                 Jack L. O’Connor III (Bar No. 030660)
        ADDITIONAL PARTIES AND ATTORNEY                                          Rosa Aguilar (Bar No. 037774)
        INFORMATION PROVIDED ON SEPARATE SHEETS                                  MARICOPA COUNTY ATTORNEY'S OFFICE
                                                                                 225 West Madison Street
                                                                                 Phoenix, Arizona 85003
                                                                                 Telephone (602) 506-8541


2.       Jury Demand:
         Was a Jury Demand made in another jurisdiction?                   Yes              No
         If "Yes," by which party and on what date?



3.       Answer:
         Was an Answer made in another jurisdiction?                 Yes              No
         If "Yes," by which party and on what date?




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4.       Served Parties:
         The following parties have been served at the time this case was removed:

         Party                                    Date Served                Method of Service
        Maricopa County Recorder Stephen Richer   August 7, 2024            Personal service


        Maricopa County                           August 7, 2024            Personal service




5.       Unserved Parties:
         The following parties have not been served at the time this case was removed:

         Party                                                 Reason Not Served
        NONE




6.       Nonsuited, Dismissed or Terminated Parties:
         Please indicate changes from the style of the papers from another jurisdiction and the reason for the
         change:

         Party                                                 Reason for Change
        NONE




7.       Claims of the Parties:
         The filing party submits the following summary of the remaining claims of each party in this litigation:

         Party                                                 Claims
        Plaintiffs                                            The Recorder is not performing voter registration "list maintenance"
                                                              required by both state and federal law & governed by federal law.

        Plaintiffs                                            The Maricopa County Recorder is failing to send voter information to the
                                                              Attorney General as required by state law.




Pursuant to 28 USC § 1446(a) a copy of all process, pleadings, and orders served in
another jurisdiction (State Court) shall be filed with this removal.


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